           Case 1:19-vv-00630-UNJ Document 32 Filed 10/02/20 Page 1 of 5




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0630V
                                          UNPUBLISHED


    NICOLE WHITE,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: September 2, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Shoulder
                         Respondent.                            Injury Related to Vaccine
                                                                Administration (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.

James Vincent Lopez, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On April 30, 2019, Nicole White filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”) caused in fact by the tetanus, diphtheria, acellular pertussis
(“tdap”) vaccine she received on October 27, 2017. Petition at 1, ¶¶ 2, 16. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

      On July 31, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for her SIRVA. On September 2, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $112,787.44,
representing $112,500.00 for her pain and suffering and $287.44 for her past

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:19-vv-00630-UNJ Document 32 Filed 10/02/20 Page 2 of 5



unreimburseable expenses. Proffer at 1-2. In the Proffer, Respondent represented that
Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $112,787.44, representing $112,500.00 for her pain and suffering
and $287.44 for her actual unreimburseable expenses in the form of a check
payable to Petitioner. This amount represents compensation for all damages that would
be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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         Case 1:19-vv-00630-UNJ Document 32 Filed 10/02/20 Page 3 of 5




              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS
___________________________________
                                    )
NICOLE WHITE,                       )
                                    )
            Petitioner,             )
                                    )    No. 19-630V
      v.                            )    Chief Special Master Corcoran
                                    )    ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On April 30, 2019, Nicole White (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine Administration

(“SIRVA”), as defined in the Vaccine Injury Table, following administration of a tetanus,

diphtheria, and acellular pertussis (“Tdap”) vaccine she received on October 27, 2017. On July

30, 2020, the Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) Report

indicating that this case is appropriate for compensation under the terms of the Act for a SIRVA

Table injury, and on July 31, 2020, the Chief Special Master issued a Ruling on Entitlement

finding petitioner entitled to compensation. ECF No. 19; ECF No. 21.

I.     Items of Compensation

       A.     Pain and Suffering

       Respondent proffers that petitioner should be awarded $112,500.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
            Case 1:19-vv-00630-UNJ Document 32 Filed 10/02/20 Page 4 of 5




       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $287.44. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $112,787.44, in the form of

a check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Nicole White:                                $112,787.44

                                              Respectfully submitted,

                                              ETHAN P. DAVIS
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division


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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
        Case 1:19-vv-00630-UNJ Document 32 Filed 10/02/20 Page 5 of 5




                                   GABRIELLE M. FIELDING
                                   Assistant Director
                                   Torts Branch, Civil Division

                                   s/ JAMES V. LOPEZ
                                   James V. Lopez
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Date: September 2, 2020




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